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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
v.
[11] ARAZET CRUZ-ROQUE,

Defendant.

No.: 23-cr-85 (PAD)

MOTION TO DISMISS INDICTMENT.

TO THE HONORABLE COURT:

COMES NOW, the United States of America, by and through the undersigned

Assistant United States Attorneys, to respectfully move the Court to dismiss without

prejudice the Indictment pending against [11] ARAZET CRUZ-ROQUE pursuant to Rule

48 of the Federal Rules of Criminal Procedure.

Accordingly, the United States respectfully requests that the Court dismiss the

Indictment without prejudice.
Respectfully submitted,

W. STEPHEN MULDROW
United States Attorney

AA

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Assistant United States Attorney

s/Daniel J. Olinghouse

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